       Case 1:10-cr-00131-LJO Document 104 Filed 01/20/12 Page 1 of 2



 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KAREN A. ESCOBAR
     Assistant U.S. Attorney
 3   2500 Tulare Street
     Fresno, California 9372l
 4   Telephone: (559) 497-4000

 5

 6

 7

 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          )        1:10-cr-00131 AWI
                                        )
12                                      )
                                        )
13                  Plaintiff,          )
                                        )
14        v.                            )        AMENDED STIPULATION RE:
                                        )        CONTINUANCE AND
15                                      )        ORDER
                                        )
16                                      )
     JOSEPH TAYLOR,                     )
17                                      )
                                        )
18                                      )
                    Defendant.          )
19   ___________________________________)

20        The above-named Defendant in the above-captioned matter, by

21   and through his respective attorneys, and the United States of

22   America, by and through its attorneys, BENJAMIN B. WAGNER, United

23   States Attorney, and KAREN A. ESCOBAR, Assistant United States

24   Attorney, hereby enter into the following amended stipulation:

25        1.   The parties to the above-captioned matter agree to vacate

26   the defendant’s January 23, 2012, sentencing hearing and reset the

27   matter for March 5, 2012, at 11:00 a.m., the anticipated new

28   status conference/sentencing hearing dates of the co-defendants.

                                          1
       Case 1:10-cr-00131-LJO Document 104 Filed 01/20/12 Page 2 of 2



 1           2.   The parties further agree to file their sentencing

 2   memoranda by 4 p.m., Friday, January 27, 2012, and any replies by

 3   4 p.m., February 27, 2012.

 4    DATED: January 19, 2012                     Respectfully submitted,

 5                                                BENJAMIN B. WAGNER
                                                  United States Attorney
 6
                                                  By: /s/ Karen A. Escobar
 7                                                  KAREN A. ESCOBAR
                                                  Assistant U.S. Attorney
 8
                                                   /s/ James Raza Lawrence
 9                                                 JAMES RAZA LAWRENCE
                                                   ALLISON MARGOLIN
10                                                 Attorneys for Defendant
                                                   Joseph Taylor
11
                                   O R D E R
12
             Having read and considered the foregoing stipulation,
13
             IT IS THE ORDER of the Court that the current sentencing
14
     hearing set January 23, 2012, for the above-named defendant is
15
     hereby vacated and is reset for March 5, 2012, at 11:00 a.m.
16
             IT IS FURTHER THE ORDER of the Court that any sentencing
17
     memoranda in this matter will be filed by 4 p.m., Friday, January
18
     27, 2012, and any replies will be filed by 4 p.m., February 27,
19
     2012.
20
     IT IS SO ORDERED.
21

22   Dated:         January 19, 2012
     0m8i78                        CHIEF UNITED STATES DISTRICT JUDGE
23

24

25

26

27

28

                                          2
